                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


YUBA LOPEZ and his Executor,
TAMIKA REID




                       vs.                               Civil Action No.: 2:20-cv-01260



SELECTIVE INSURANCE COMPANY
OF SOUTH CAROLINA

                 AMENDED CIVIL ACTION COMPLAINT (1C - Contract)

        Plaintiff, Yuba Lopez by his Executor, Tamika Reid (hereinafter referred to as

“Plaintiff”), by and through undersigned counsel Wheeler, DiUlio & Barnabei, P.C., hereby file

this Amended Civil Class Action Complaint against Defendant, State Farm Fire and Casualty

Company and any of its other entities, subsidiaries, and/or corporations (hereinafter “State

Farm”), as follows:

   I.        PARTIES

        1.      Plaintiff, Yuba Lopez by his Executor, Tamika Reid is an adult individual

residing at the address set forth above.

        2.      Defendant, Selective Insurance Company of South Carolina, is a corporation duly

organized and existing which is authorized to conduct business as an insurance company within

the Commonwealth of Pennsylvania and maintains a place of business for that purpose at the

address set forth above and issues policies of insurance within the City and County of

Philadelphia.
          3.     At all times material hereto, Defendant was acting by and through its duly

authorized agents, servants, workmen or employees acting within the course and scope of their

employment and on the business of said employer.

   II.         JURISDICTION AND VENUE

          4.     This Court has subject matter jurisdiction over the parties to this action pursuant

to 28 U.S.C. §1332(d) because the matter in controversy exceeds Seventy-Five Thousand Dollars

($75,000.00) exclusive of interest and costs and because Plaintiff is a citizens of a State different

from that of Defendant.

          5.     Venue is proper in the United States District Court for the Eastern District of

Pennsylvania under 28 U.S.C. §1391 since a substantial part of the events or omissions giving

rise to the claims in this action occurred within the Eastern District of Pennsylvania, Defendant

regularly conducts business and issues policies within the Eastern District of Pennsylvania and

would be subject to personal jurisdiction within this District pursuant to 28 U.S.C. § 1391(d).

   III.        FACTS

          6.     Defendant, in its regular course of business issued to Plaintiff a policy of

insurance ("the Policy") covering Plaintiff's property located at 750 W. Cooke Avenue,

Glenolden, Pennsylvania, 19036 ("the Property"). A copy of the Policy is not in Plaintiff’s

possession, but a copy of same is believed to be in defendant’s care, custody and control.

          7.     On or about January 28, 2019, while the Policy was in full force and effect,

Plaintiff suffered direct physical loss and damage to the insured Property believed to be the result

of a peril insured against under the Policy, resulting in damage to the insured premises and those

areas and to the extent set forth in the preliminary estimate of loss, a true and correct copy of

which is attached hereto and made part hereof and marked Exhibit "A".
       8.      Notice of this covered loss was given to Defendant in a prompt and timely manner

and Plaintiff, at all relevant times, fully complied with all of the terms and conditions required by

the Policy.

       9.      Defendant was presented evidence that heat was maintained at the property

through heating records provided by Plaintiff’s public adjuster.

       10.     Defendant was presented evidence that the heating system failed while heat was

being maintained at the property through and invoice and report from Unique Indoor Comfort.

       11.     Defendant provided no credible or reasonable evidence that contradicted

Plaintiff’s contention that the heating system failed, thus causing the freeze.

       12.     To the contrary, a report provided by Defendant supported that the heating system

was damaged and needed to be replaced, supporting Plaintiff’s contention.

       13.     Defendant initially stated to Plaintiff’s representative that the loss was covered

under this policy which was evidenced by Defendant’s payment of Plaintiff’s mitigation

damages.

       14.      Defendant’s representative, Keri Flanagan, confirmed that reasonably steps were

taken to maintain heat at the property.

       15.     Plaintiff relied on these representations and had portions of her property torn out

which now need to be repaired.

       16.     The policy does not require that heat be maintained, but simply requires that

reasonable steps be taken to maintain heat.

       17.     Reasonable steps were taken to maintain heat at the property.
       18.     Defendant, despite demand for benefits under the Policy, has refused, without

legal justification or cause, and continues to refuse, to pay to Plaintiff monies owed for the

damages suffered as a result of the Loss.

       19.     Solely as a result of Defendant's failure and refusal to pay benefits to Plaintiff as

required under the Policy, Plaintiff has suffered loss and damage in an amount in excess of

$50,000.00.

                                          COUNT I
                               In Assumpsit - Breach of Contract

       20.     Plaintiff incorporates by reference the facts and allegations contained in the

foregoing paragraphs as though fully set forth hereinafter at length.

       21.     Defendant is obligated by the terms of the contract to indemnify Plaintiff's loss.

       22.     Despite submission of reasonable proof and demand for full and complete

payment with respect to Plaintiff’s Loss, Defendant has not paid to Plaintiff all of the policy

benefits to which they are entitled under the Policy and has refused to provide funds sufficient to

bring Plaintiffs’ home to pre-loss condition.

       23.     Defendant’s denial of coverage was made without a reasonable basis in fact.

       24.     Defendant's refusal to indemnify Plaintiff’s loss constitutes a breach of the

insurance contract.

       25.     Defendant is estopped from denying the claim as coverage was provided and that

coverage was relied upon by Plaintiff.

       WHEREFORE, Plaintiffs demand judgment against Defendant in an amount in excess of

$50,000.00 together with interest and court costs.
                                           COUNT II
                                 In Trespass - 42 Pa.C.S.A. §8371

          26.   Plaintiff incorporates by reference the facts and allegations contained in the

foregoing paragraphs as though fully set forth hereinafter at length.

          27.   Defendant has engaged in bad faith conduct toward Plaintiff with respect to its

adjustment of Plaintiff's covered Loss, in violation of 42 Pa.C.S.A. §8371 et seq.

          28.   In furtherance of its bad faith and wrongful denial and refusal to pay benefits for

Plaintiff's covered Loss, Defendant, acting by and through its duly authorized agents, servants,

workmen or employees has engaged in the following conduct:

                a.      by accepting that the loss was covered and providing coverage for a

portion of the loss only to later change positions as a result of the size of the loss;

                b.      by indicating to the insured that the loss was to be covered and then

change position without a reasonable basis;

                c.      by failing to obtain any reasonable or credible evidence to suggest

Plaintiff’s claim was incorrect or for some reason not covered by the policy;

                d.      by rescinding coverage that was provided after Plaintiff reasonably relied

on that coverage;

                e.      by unreasonably claiming that heat was not maintained when the policy

does not require that heat be maintained, but simply that reasonable steps to maintain heat be

taken, all with the intent to deceive Plaintiff about what the policy requires and deny coverage;

                f.      by sending correspondence falsely representing that Plaintiff’s loss caused

by a peril insured against under the Policy was not entitled to benefits due and owing under the

Policy;
                g.      in failing to complete a prompt and thorough investigation of Plaintiff’s

claim before representing that such claim is not covered under the Policy;

                h.      in failing to pay Plaintiff’s covered loss in a prompt and timely manner;

                i.      in failing to objectively and fairly evaluate Plaintiff’s claim;

                j.      in conducting an unfair and unreasonable investigation of Plaintiff’s

claim;

                k.      in asserting Policy defenses without a reasonable basis in fact;

                l.      in flatly misrepresenting pertinent facts or policy provisions relating to

coverages at issue and placing unduly restrictive interpretations on the Policy and/or claim

forms;

                m.      in failing to keep Plaintiff or their representatives fairly and adequately

advised as to the status of the claim;

                n.      in unreasonably valuing the loss and failing to fairly negotiate the amount

of the loss with Plaintiff or their representatives;

                o.      in failing to promptly provide a reasonable factual explanation of the basis

for the denial of Plaintiff’s claim;

                p.      in unreasonably withholding policy benefits;

                q.      in acting unreasonably and unfairly in response to Plaintiff’s claim;

                r.      in unnecessarily and unreasonably compelling Plaintiff to institute this

lawsuit to obtain policy benefits for a covered loss, that Defendant should have paid promptly

and without the necessity of litigation.

         29.    For the reasons set forth above, Defendant has acted in bad faith in violation of 42

Pa.C.S.A. §8371, for which Defendant is liable for statutory damages including interest from the
date the claim was made in an amount equal to the prime rate of interest plus three percent, court

costs, attorneys' fees, punitive damages, and such other compensatory and/or consequential

damages as are permitted by law.

       WHEREFORE, Plaintiff demands judgment against Defendant in an amount in excess

of $50,000.00, together with interest, court costs, counsel fees and damages for delay.


                                      WHEELER, DIULIO & BARNABEI, P.C.


                                      BY: ___/s/ Anthony DiUlio________________________
                                            ANTHONY DIULIO, ESQUIRE
                                            Attorney for Plaintiff(s)
                                        VERIFICATION



        I, Anthony DiUlio, counsel for Plaintiff, verify that the statements contained in the

foregoing document are true and correct to the best of my knowledge, information and belief,

and are made subject to the penalties of 18 Pa.C.S. §4904, relating to unsworn falsification to

authorities.



                                      WHEELER, DIULIO & BARNABEI, P.C.


                                      BY:      /s/ Anthony DiUlio
                                              ANTHONY DIULIO, ESQUIRE
                                              Attorney for Plaintiff(s)


Date: June 22, 2020
Exhibit “A”
              Case ID: 200103150
1



                  Home & Business Public Adjusters
                  434 East Baltimore Pike
                  Media Pa 19063


              Client:   Reid, Tamika
            Property:   750 west Cooke Avenue
                        Glenolden, PA 19036


           Operator:    HABADJUS


           Estimator:   Blaine Jelus                                               Business:   (610) 356-1344
            Position:   Adjuster                                                    E-mail:    habadjustment@comcast.net
           Company:     Home & Business Adjustment Co.
            Business:   P.O. Box 444
                        Broomall, PA 19008


    Type of Estimate:   Water Damage
       Date Entered:    5/24/2019                     Date Assigned:   2/21/2019


          Price List:   PAWC8X_MAR19
    Labor Efficiency:   Restoration/Service/Remodel
           Estimate:    2019-05-24-1719
       File Number:     2019 - 063




                                                                                                          Case ID: 200103150
2



                                       Home & Business Public Adjusters
                                       434 East Baltimore Pike
                                       Media Pa 19063


                                                                                  2019-05-24-1719
                                                                                        basement


                                                         Basement                                                                                Height: 6' 6"
                                                                      343.94 SF Walls                                  339.84 SF Ceiling
                                               Up




                                       interior stairs
                     Basement                                         683.78 SF Walls & Ceiling                        339.84 SF Floor
                                                                       37.76 SY Flooring                                52.65 LF Floor Perimeter
                                                                       73.00 LF Ceil. Perimeter

                                 Utility Room (4)
     Missing Wall                                                          5' 2" X 6' 6"                    Opens into INTERIOR_ST2
                            Up
                        exterior stairs
     Missing Wall                                                          3' 6" X 6' 6"                    Opens into INTERIOR_ST2
                                          Up




                                 interior stairs
     Missing Wall                                                          3' 6" X 6' 6"                    Opens into Exterior
     Basement
     Missing Wall                                                          3' X 6' 6"                       Opens into Exterior


                                                         Subroom: Utility Room (4)                                                               Height: 6' 6"
                                                                      271.82 SF Walls                                   93.23 SF Ceiling
                        Utility Room (4)
                                                                      365.05 SF Walls & Ceiling                         93.23 SF Floor
                                                                       10.36 SY Flooring                                41.82 LF Floor Perimeter
                Up                                                     41.82 LF Ceil. Perimeter
          exterior stairs



     Missing Wall                                                          3' X 6' 6"                       Opens into EXTERIOR_ST2
     Missing Wall                                                          3' 9 3/16" X 6' 6"               Opens into BASEMENT


                                                         Subroom: Room1 (1)                                                                      Height: 6' 5"
                                                                      199.45 SF Walls                                  110.09 SF Ceiling
                                                                      309.54 SF Walls & Ceiling                        110.09 SF Floor
                                                                       12.23 SY Flooring                                31.08 LF Floor Perimeter
                                               Up




                                      interior stairs                  31.08 LF Ceil. Perimeter
                 Basement



     Missing Wall                                                          11' 1" X 6' 5"                   Opens into BASEMENT
     Missing Wall                                                          5' 7" X 6' 5"                    Opens into BASEMENT
                                 Utility Room (4)
     Missing Wall                                                          3' X 6' 5"                       Opens into Exterior
     Missing Wall
             exterior stairs
                            Up
                                                                           5' 2" X 6' 5"                    Opens into INTERIOR_ST2
     Missing Wall                                                          1' 3 3/16" X 6' 5"               Opens into BASEMENT
     Missing Wall                                                          2' 5" X 6' 5"                    Opens into BASEMENT
     DESCRIPTION                                                     QTY          RESET         REMOVE    REPLACE         TAX            O&P          TOTAL

     1. General Laborer - per hour                              24.00 HR                           0.00       38.50       66.53         184.80        1,175.33


    2019-05-24-1719                                                                                                               6/5/2019               Page: 2


                                                                                                                                        Case ID: 200103150
3



                         Home & Business Public Adjusters
                         434 East Baltimore Pike
                         Media Pa 19063


                                                                CONTINUED - Basement

     DESCRIPTION                                       QTY          RESET     REMOVE       REPLACE         TAX            O&P          TOTAL

     320. Clean floor or roof joist system -    543.16 SF                           0.00        0.98       38.33         106.46         677.09
     Heavy
     323. Clean floor or roof joist system      543.16 SF                           0.00        0.71       27.77          77.12         490.53
     324. Clean the floor - Heavy               543.16 SF                           0.00        0.33       12.90          35.84         227.98
     325. Clean the walls - Heavy               815.21 SF                           0.00        0.33       19.37          53.80         342.19
     326. Seal floor or ceiling joist system    543.16 SF                           0.00        0.95       37.15         103.20         656.35
     327. Seal block with masonry sealer        815.21 SF                           0.00        0.67       39.32         109.24         694.75
     328. Paint concrete the floor              543.16 SF                           0.00        0.74       28.94          80.38         511.26
     337. Interior door unit - High grade          1.00 EA                          0.00      167.27       12.05          33.46         212.78
     338. Door knob - interior - High grade        1.00 EA                          0.00       54.25        3.91          10.86          69.02
     339. Door hinge, 4" ball bearing (set of      1.00 EA                          0.00       53.63        3.86          10.72          68.21
     3)
     340. Casing - 3 1/4" stain grade            16.00 LF                           0.00        2.70        3.11              8.64       54.95
     341. Stain & finish door/window trim          1.00 EA                          0.00       30.80        2.22              6.16       39.18
     & jamb (per side)
     440. Heat, Vent, & Air Conditioning /         1.00 EA                          0.00        0.00        0.00              0.00         0.00
     Water Heater (Bid Item)
      Bid Item from Insurance Company.
     464. Megohmmeter check electrical             1.00 EA                          0.00      732.08       52.70         146.42         931.20
     circuits - average residence

     Totals: Basement                                                                                     348.16         967.10        6,150.82




                                         interior stairs                                                                        Height: Sloped
                                                             33.33 SF Walls & Ceiling                    33.33 SF Ceiling
                          Up




               interior stairs                                4.65 SY Flooring                           41.85 SF Floor




     Missing Wall                                            3' 6" X 6' 6"                   Opens into BASEMENT
     Missing Wall                                            5' 2" X 6' 6"                   Opens into ROOM1
     Missing Wall                                            3' 6" X 6' 6"                   Opens into Exterior
     Missing Wall                                            5' 2" X 6' 6"                   Opens into BASEMENT
     DESCRIPTION                                       QTY          RESET     REMOVE       REPLACE         TAX            O&P          TOTAL

    2019-05-24-1719                                                                                                6/5/2019              Page: 3


                                                                                                                         Case ID: 200103150
4



                         Home & Business Public Adjusters
                         434 East Baltimore Pike
                         Media Pa 19063


                                                             CONTINUED - interior stairs

     DESCRIPTION                                       QTY        RESET     REMOVE      REPLACE     TAX            O&P        TOTAL

     398. Clean floor or roof joist system -      33.33 SF                       0.00        0.98    2.35              6.54     41.55
     Heavy
     402. Seal floor or ceiling joist system      33.33 SF                       0.00        0.95    2.28              6.34     40.28
     405. Clean stair riser - per side - per      33.00 LF                       0.00        0.41    0.97              2.70     17.20
     LF
     406. Clean stair tread - per side - per      33.00 LF                       0.00        0.48    1.14              3.16     20.14
     LF
     407. Seal & paint stair riser - per side -   33.00 LF                       0.00        2.75    6.54          18.16       115.45
     per LF
     408. Seal & paint stair tread - per side -   33.00 LF                       0.00        4.11    9.77          27.12       172.52
     per LF
     409. Clean handrail - wall mounted -         10.00 LF                       0.00        0.56    0.41              1.12       7.13
     Heavy
     410. R&R Outlet or switch cover               1.00 EA                       0.53        2.52    0.22              0.60       3.87
     413. Two coat plaster over 5/8"              33.33 SF                       0.00        7.33   17.59          48.86       310.76
     gypsum core blueboard
     415. Seal the walls and ceiling w/PVA        33.33 SF                       0.00        0.44    1.06              2.94     18.67
     primer - one coat
     416. Paint the walls and ceiling - two       33.33 SF                       0.00        0.75    1.80              5.00     31.80
     coats
     431. R&R Door jamb per LF - interior -       16.00 LF                       0.31        3.41    4.28          11.92        75.72
     paint grade - 4 9/16"
     bedroom and closet doorway.
     432. R&R Casing - 3 1/4"                     16.00 LF                       0.43        2.27    3.11              8.64     54.95
     434. Paint door/window trim & jamb -          1.00 EA                       0.00       27.77    2.00              5.56     35.33
     Large - 2 coats (per side)
     bedroom and closet doorways
     435. R&R Wood door - panel - solid            1.00 EA                       7.01      311.66   22.94          63.74       405.35
     pine
     436. Paint door slab only - 2 coats (per      1.00 EA                       0.00       29.89    2.15              5.98     38.02
     side)
     437. R&R Door hinges - High grade             1.00 EA                       8.40       49.14    4.14          11.50        73.18
     (set of 2)
     438. R&R Door dummy knob -                    1.00 EA                       6.30       31.36    2.72              7.54     47.92
     interior - High grade
     closet door
     439. R&R Door knob - interior - High          1.00 EA                      10.50       54.25    4.67          12.96        82.38
     grade
     bedroom door
     429. R&R Door opening (jamb &                 1.00 EA                       5.29       94.46    7.18          19.96       126.89
     casing) - 32"to36"wide - paint grade

     Totals: interior stairs                                                                        97.32         270.34      1,719.11


    2019-05-24-1719                                                                                         6/5/2019            Page: 4


                                                                                                                  Case ID: 200103150
5



                                    Home & Business Public Adjusters
                                    434 East Baltimore Pike
                                    Media Pa 19063
                                                       Utility Room (4)




                                                                exterior stairs                                                                         Height: Sloped
                             Up
                         exterior stairs
                                                                                     67.93 SF Walls                              18.11 SF Ceiling
                                                                                     86.04 SF Walls & Ceiling                    25.37 SF Floor
                                                                                      2.82 SY Flooring                            8.89 LF Floor Perimeter
                                                                                     10.03 LF Ceil. Perimeter


         Missing Wall                                                                3' X 8'                           Opens into UTILITY_ROOM
         DESCRIPTION                                                           QTY             RESET   REMOVE        REPLACE       TAX            O&P             TOTAL

         318. Joist - floor or ceiling - 2x10 -                           52.00 SF                            0.00       3.86      14.45          40.14             255.31
         w/blocking - 12" oc
         417. Clean floor or roof joist system                            18.11 SF                            0.00       0.71       0.92              2.58           16.36
         418. Clean the floor - Heavy                                     25.37 SF                            0.00       0.33       0.60              1.68           10.65
         419. Clean the walls - Heavy                                     67.93 SF                            0.00       0.33       1.62              4.48           28.52
         420. Seal floor or ceiling joist system                          25.37 SF                            0.00       0.95       1.74              4.82           30.66
         421. Seal block with masonry sealer                              67.93 SF                            0.00       0.67       3.28              9.10           57.89
         422. Paint concrete the floor                                    25.37 SF                            0.00       0.74       1.36              3.76           23.89

         Totals: exterior stairs                                                                                                   23.97          66.56             423.28

         Total: basement                                                                                                          469.45       1,304.00           8,293.21

                                                                                                 Main Level


                                                                Living Room                                                                                  Height: 8' 8"
                                                                                  526.64 SF Walls                               212.58 SF Ceiling
                   Living Room
                                                                                  739.22 SF Walls & Ceiling                     212.58 SF Floor
                                                Up                                 23.62 SY Flooring                             65.75 LF Floor Perimeter
                                           Up




                                            Stairs2 (1)
                              Stairs to 2nd Floor                                  65.75 LF Ceil. Perimeter
                                                  Up
                         Closet (1)

                Office
                                    Dining Room


                                                                Subroom: Stairs3 (1)                                                                         Height: 8' 8"
                                      Kitchen
                                                                                     16.61 SF Walls                               7.22 SF Ceiling
                                  Bathroom
                                                                                     23.83 SF Walls & Ceiling                    15.58 SF Floor
                         Up               Mudroom                                     1.73 SY Flooring                            2.54 LF Floor Perimeter
                                                                                      2.17 LF Ceil. Perimeter
        Up




Floor                Stairs2 (1)
         Missing Wall                                                                3' 4" X 8' 8"                     Opens into LIVING_ROOM
         Missing Wall                                                                3' 4" X 8' 8"                     Opens into LANDING
        2019-05-24-1719Up                                                                                                                  6/5/2019                  Page: 5


                                                                                                                                                 Case ID: 200103150
6



                         Home & Business Public Adjusters
                         434 East Baltimore Pike
                         Media Pa 19063


                                                              CONTINUED - Living Room

     DESCRIPTION                                        QTY       RESET   REMOVE      REPLACE     TAX            O&P        TOTAL

     228. R&R Outlet or switch cover                8.00 EA                    0.53       2.52     1.75              4.88     31.03
     230. R&R Batt insulation - 6" - R19 -        380.00 SF                    0.24       0.97    33.10          91.96       584.86
     paper faced
     one short and one long wall.
     231. Two coat plaster over 5/8"              219.80 SF                    0.00       7.33   116.00         322.22      2,049.35
     gypsum core blueboard
     232. Acoustic plaster over 1/2"              543.25 SF                    0.00       7.71   301.57         837.70      5,327.73
     gypsum core blueboard
     re-plaster adjoining short wall. 8' x 12'.
     233. Suspended ceiling grid - High           219.80 SF                    0.00       1.51    23.89          66.38       422.17
     grade - 2' x 4'
     234. Suspended ceiling tile - High           219.80 SF                    0.00       1.75    27.70          76.94       489.29
     grade - 2' x 4'
     235. Seal the walls and ceiling w/PVA        763.06 SF                    0.00       0.44    24.18          67.16       427.09
     primer - one coat
     315. R&R Paneling - High grade               543.25 SF                    0.26       2.30   100.14         278.16      1,769.03
     238. R&R Window blind - single cell -          6.00 EA                    9.45     117.70    54.92         152.58       970.40
     7.1 to 14 SF
     239. R&R Hanging light fixture - High          1.00 EA                   10.57      95.91     7.66          21.30       135.44
     grade
     240. R&R Door jamb per LF - interior -        32.00 LF                    0.31       3.41     8.58          23.80       151.42
     paint grade - 4 9/16"
     bedroom and closet doorway.
     241. R&R Casing - 3 1/4"                      48.00 LF                    0.43       2.27     9.34          25.92       164.86
     242. R&R Casing - 8" - hardwood - 2            9.00 LF                    0.53       9.10     6.24          17.34       110.25
     piece
     top of doorway
     243. Paint door/window trim & jamb -           9.00 EA                    0.00      27.77    18.00          49.98       317.91
     Large - 2 coats (per side)
     bedroom and closet doorways
     244. R&R Wood door - panel - solid             1.00 EA                    7.01     311.66    22.94          63.74       405.35
     pine
     256. R&R Exterior door - solid alder -         1.00 EA                    9.01     789.60    57.51         159.72      1,015.84
     paneled - slab only
     245. Paint door slab only - 2 coats (per       2.00 EA                    0.00      29.89     4.31          11.96        76.05
     side)
     246. R&R Door hinges - High grade              2.00 EA                    8.40      49.14     8.29          23.02       146.39
     (set of 2)
     247. R&R Door dummy knob -                     1.00 EA                    6.30      31.36     2.72              7.54     47.92
     interior - High grade
     closet door
     248. R&R Door lockset & deadbolt -             1.00 EA                   12.61      82.07     6.81          18.94       120.43
     exterior

    2019-05-24-1719                                                                                       6/5/2019            Page: 6


                                                                                                                Case ID: 200103150
 7



                                              Home & Business Public Adjusters
                                              434 East Baltimore Pike
                                              Media Pa 19063


                                                                                   CONTINUED - Living Room

               DESCRIPTION                                                 QTY           RESET     REMOVE       REPLACE        TAX            O&P             TOTAL

               bedroom door
               249. R&R Baseboard - 8" paint grade -                 68.29 LF                            0.50        5.40     29.02           80.60             512.54
               2 piece
               250. R&R Quarter round - 3/4" -                       68.29 LF                            0.14        1.86       9.82          27.32             173.72
               hardwood
               251. Seal & paint trim - two coats                    68.29 LF                            0.00        1.07       5.26          14.62              92.95
               252. Sand and seal wood floor                        228.16 SF                            0.00        3.32     54.54          151.50             963.53
               253. R&R Carpet pad                                  228.16 SF                            0.10        0.60     11.49           31.94             203.15
               254. Carpet - High grade                             228.16 SF                            0.00        4.92     80.82          224.52           1,427.89
               255. Contents - move out th en reset -                   1.00 EA                          0.00       78.77       5.68          15.76             100.21
               Large room
               572. Radiator unit - Large - Detach &                    2.00 EA                          0.00      370.40     53.34          148.16             942.30
               reset
               573. Clean radiator unit                                 2.00 EA                          0.00       25.81       3.72          10.32              65.66
               574. Prime & paint radiator unit                         2.00 EA                          0.00       48.79       7.02          19.52             124.12

               Totals: Living Room                                                                                          1,096.36       3,045.50          19,368.88
               Living Room

                                                 Up
                                           Up




                             Stairs to 2nd FloorStairs2 (1)

                                                     Up
                                                              Dining Room                                                                                Height: 8' 8"
                   Closet (1)
                                                                             343.76 SF Walls                                119.51 SF Ceiling
      Office                                                                 463.28 SF Walls & Ceiling                      119.51 SF Floor
                               Up   Dining Room
                                                                              13.28 SY Flooring                              41.25 LF Floor Perimeter
                                                                              41.25 LF Ceil. Perimeter
     Up




                                    Kitchen
                             Stairs2 (1)

                                                              Subroom: Dining Room1 (1)                                                                  Height: 8' 8"
                                 Bathroom
                                                                                  20.54 SF Walls                              5.97 SF Ceiling
                                      Up Mudroom                                  26.51 SF Walls & Ceiling                   14.21 SF Floor
                                                                                   1.58 SY Flooring                           5.57 LF Floor Perimeter
                                                                                   5.13 LF Ceil. Perimeter


               Missing Wall                                                       3' 4" X 8' 8"                   Opens into DINING_ROOM2
               Missing Wall - Goes to neither Floor/Ceiling                       2' 6" X 6' 2"                   Opens into LANDING
               DESCRIPTION                                                 QTY           RESET     REMOVE       REPLACE        TAX            O&P             TOTAL

               257. R&R Outlet or switch cover                          4.00 EA                          0.53        2.52       0.88              2.44           15.52

ng Room 258. R&R Batt insulation - 6" - R19 -                       120.00 SF                            0.24        0.97     10.46           29.04             184.70
        paper faced
          2019-05-24-1719                                                                                                              6/5/2019                  Page: 7


                                                                                                                                             Case ID: 200103150
8



                         Home & Business Public Adjusters
                         434 East Baltimore Pike
                         Media Pa 19063


                                                              CONTINUED - Dining Room

     DESCRIPTION                                        QTY       RESET   REMOVE      REPLACE     TAX            O&P        TOTAL

     one short and one long wall.
     259. Two coat plaster over 5/8"              125.49 SF                    0.00       7.33    66.23         183.96      1,170.03
     gypsum core blueboard
     260. Acoustic plaster over 1/2"              364.31 SF                    0.00       7.71   202.24         561.76      3,572.83
     gypsum core blueboard
     re-plaster adjoining short wall. 8' x 12'.
     261. Chandelier - High grade                   1.00 EA                    0.00     349.89    25.19          69.98       445.06
     263. Seal the walls and ceiling w/PVA        489.79 SF                    0.00       0.44    15.52          43.10       274.13
     primer - one coat
     265. Paint casing - two coats                489.79 LF                    0.00       1.08    38.09         105.80       672.86
     ceiling and one short wall
     266. R&R Window blind - single cell -          2.00 EA                    9.45     117.70    18.30          50.86       323.46
     7.1 to 14 SF
     268. R&R Door jamb per LF - interior -        16.00 LF                    0.31       3.41     4.28          11.92        75.72
     paint grade - 4 9/16"
     bedroom and closet doorway.
     269. R&R Casing - 3 1/4"                      16.00 LF                    0.43       2.27     3.11              8.64     54.95
     270. R&R Casing - 8" - hardwood - 2            3.00 LF                    0.53       9.10     2.09              5.78     36.76
     piece
     top of doorway
     271. Paint door/window trim & jamb -           5.00 EA                    0.00      27.77    10.00          27.78       176.63
     Large - 2 coats (per side)
     bedroom and closet doorways
     278. R&R Baseboard - 8" paint grade -         46.82 LF                    0.50       5.40    19.88          55.24       351.36
     2 piece
     280. Seal & paint trim - two coats            46.82 LF                    0.00       1.07     3.61          10.02        63.73
     281. Sand, stain, and finish wood floor      133.72 SF                    0.00       4.42    42.55         118.20       751.79
     284. Contents - move out then reset -          1.00 EA                    0.00      39.42     2.84              7.88     50.14
     Small room
     569. Radiator unit - Large - Detach &          1.00 EA                    0.00     370.40    26.66          74.08       471.14
     reset
     570. Clean radiator unit                       1.00 EA                    0.00      25.81     1.86              5.16     32.83
     571. Prime & paint radiator unit               1.00 EA                    0.00      48.79     3.52              9.76     62.07

     Totals: Dining Room                                                                         497.31       1,381.40      8,785.71




    2019-05-24-1719                                                                                       6/5/2019            Page: 8


                                                                                                                Case ID: 200103150
 9



                                     Home & Business Public Adjusters
                                     434 East Baltimore Pike
                                     Media Pa 19063

     Living Room




                                                    Up   Stairs to 2nd Floor                                                                Height: Stepped
                                                                        224.23 SF Walls                                25.78 SF Ceiling
                                             Up




                          Stairs to 2nd Floor     Stairs2 (1)
                                                                        250.02 SF Walls & Ceiling                      49.65 SF Floor
                                                       Up
                                                                          5.52 SY Flooring                             13.16 LF Floor Perimeter
                                                                         16.96 LF Ceil. Perimeter
            Closet (1)



                         Up
                                                         Subroom: Stairs2 (1)                                                                      Height: 2'
                                    Dining Room
         Up




                                                                             8.92 SF Walls                             12.09 SF Ceiling
 Floor                   Stairs2 (1)
                                                                            21.01 SF Walls & Ceiling                   12.10 SF Floor
                                                                             1.34 SY Flooring                           4.46 LF Floor Perimeter
                                                                             4.46 LF Ceil. Perimeter
                                Up
              Missing Wall                                                  3' 4" X 2'                      Opens into STAIRS3
                                   Kitchen
              Missing Wall                                                  3' 3 1/2" X 2'                  Opens into STAIRS_TO_2N
              Missing Wall - Goes to neither Floor/Ceiling                  2' 6" X 6' 2"                   Opens into ROOM2
              DESCRIPTION                                             QTY          RESET     REMOVE       REPLACE        TAX            O&P          TOTAL

              441. Clean stair riser - per side - per            48.00 LF                          0.00       0.41        1.42              3.94        25.04
              LF
                              Bathroom
          442. Clean stair tread - per side - per                48.00 LF                          0.00       0.48        1.66              4.60        29.30
Dining Room
          LF                               Mudroom

              461. R&R Carpet pad - High grade                   61.75 SF                          0.10       0.76        3.82          10.62           67.55
              462. Carpet - High grade                           61.75 SF                          0.00       4.92       21.88          60.76          386.45
              463. Add on charge for "baluster                   10.00 EA                          0.00       2.42        1.74              4.84        30.78
              wrap" carpet installation
              445. Clean balustrade - Heavy                      10.00 LF                          0.00       2.75        1.98              5.50        34.98
              446. R&R Outlet or switch cover                     1.00 EA                          0.53       2.52        0.22              0.60         3.87
              447. Two coat plaster over 5/8"                    37.88 SF                          0.00       7.33       19.99          55.54          353.19
              gypsum core blueboard
              448. Acoustic plaster over 1/2"                   233.15 SF                          0.00       7.71      129.43         359.52        2,286.54
              gypsum core blueboard

chen
              re-plaster adjoining short wall. 8' x 12'.
              449. Seal the walls and ceiling w/PVA             271.02 SF                          0.00       0.44        8.59          23.86          151.70
              primer - one coat
              450. Paint the walls and ceiling - two            271.02 SF                          0.00       0.75       14.64          40.66          258.57
              coats

              Totals: Stairs to 2nd Floor                                                                               205.37         570.44        3,627.97




m          2019-05-24-1719                                                                                                       6/5/2019               Page: 9


                          Mudroom                                                                                                      Case ID: 200103150
10



                             Home & Business Public Adjusters
                             434 East Baltimore Pike
                             Media Pa 19063
                           Living Room

                                                              Up




                                                       Up
                                         Stairs to 2nd FloorStairs2 (1)
         Living Room                                    Office                                                                                            Height: 8'
                                                                 Up
                               Closet (1)
                                                                                   368.67 SF Walls                            124.73 SF Ceiling
                  Office
                                                                                   493.40 SF Walls & Ceiling                  124.73 SF Floor
                                                Dining Room
                                                                                    13.86 SY Flooring
                                                                                          Up                                   46.08 LF Floor Perimeter
                                                                                    46.08 LF Ceil. Perimeter
                                                                             Up
                                                 Stairs to 2nd Floor
                                                Kitchen
                                                                                         Stairs2 (1)

                                                        Subroom: Closet (1)                                                                               Height: 8'
                                                                                             Up
                                             Bathroom                                79.33 SF Walls                             5.92 SF Ceiling
                                                            Mudroom                  85.25 SF Walls & Ceiling                   5.92 SF Floor
                  Closet (1)
                                                                                      0.66 SY Flooring                          9.92 LF Floor Perimeter
                                                                                      9.92 LF Ceil. Perimeter


      DESCRIPTION                                                                 QTY        RESET     REMOVE      REPLACE       TAX           O&P          TOTAL
ce
      285. R&R Outlet or switch cover                                   6.00
                                                                   Dining    EA
                                                                          Room                              0.53       2.52      1.32              3.66        23.28
      286. R&R Batt insulation - 6" - R19 -                           380.00 SF                             0.24       0.97     33.10          91.96          584.86
      paper faced
      one short and one long wall.
      287. Two coat plaster over 5/8"                                 130.65 SF                             0.00       7.33     68.95         191.54        1,218.15
      gypsum core blueboard
      288. Acoustic plaster over 1/2"                                 448.00 SF                             0.00       7.71    248.69         690.82        4,393.59
      gypsum core blueboard
      re-plaster adjoining short wall. 8' x 12'.
      289. Suspended ceiling grid - High                              130.65 SF                             0.00       1.51     14.21          39.46          250.95
      grade - 2' x 4'
      290. Suspended ceiling tile - High                       Kitchen
                                                                   130.65 SF                                0.00       1.75     16.46          45.72          290.82
      grade - 2' x 4'
      291. Seal the walls and ceiling w/PVA                           578.65 SF                             0.00       0.44     18.34          50.92          323.87
      primer - one coat
      292. Wallpaper - High grade                                     448.00 SF                             0.00       2.34     75.48         209.66        1,333.46
      293. Paint casing - two coats                                   130.65 LF                             0.00       1.08     10.16          28.22          179.48
      ceiling and one short wall
      294. R&R Window blind - single cell -    4.00 EA                                                      9.45     117.70     36.62         101.72          646.94
      7.1 to 14 SF                    Bathroom
      295. R&R Hanging light fixture - High                                1.00 EA                        10.57       95.91      7.66          21.30          135.44
      grade
                                                                                          Mudroom
      296. R&R Door jamb per LF - interior -                              16.00 LF                          0.31       3.41      4.28          11.92           75.72
      paint grade - 4 9/16"
      bedroom and closet doorway.
      297. R&R Casing - 3 1/4"                                            16.00 LF                          0.43       2.27      3.11              8.64        54.95


     2019-05-24-1719                                                                                                                    6/5/2019             Page: 10


                                                                                                                                              Case ID: 200103150
11



                                             Home & Business Public Adjusters
                                             434 East Baltimore Pike
                                             Media Pa 19063


                                                                                  CONTINUED - Office

              DESCRIPTION                                                  QTY       RESET     REMOVE       REPLACE      TAX           O&P          TOTAL

              298. R&R Casing - 8" - hardwood - 2                      3.00 LF                       0.53       9.10     2.09              5.78       36.76
              piece
              top of doorway
              299. Paint door/window trim & jamb -                     3.00 EA                       0.00      27.77     6.00          16.66         105.97
              Large - 2 coats (per side)
              bedroom and closet doorways
              300. R&R Wood door - panel - solid                       1.00 EA                       7.01     311.66    22.94          63.74         405.35
              pine
              302. Paint door slab only - 2 coats (per                 2.00 EA                       0.00      29.89     4.31          11.96          76.05
              side)
              303. R&R Door hinges - High grade                        2.00 EA                       8.40      49.14     8.29          23.02         146.39
              (set of 2)
              304. R&R Door dummy knob -                               1.00 EA                       6.30      31.36     2.72              7.54       47.92
              interior - High grade
              closet door
              306. R&R Baseboard - 8" paint grade -                56.00 LF                          0.50       5.40    23.79          66.08         420.27
              2 piece
              307. R&R Quarter round - 3/4" -                      56.00 LF                          0.14       1.86     8.06          22.40         142.46
              hardwood
              308. Seal & paint trim - two coats                   56.00 LF                          0.00       1.07     4.32          11.98          76.22
              309. Sand and seal wood floor                       130.65 SF                          0.00       3.32    31.24          86.76         551.76
              310. R&R Carpet pad                                 130.65 SF                          0.10       0.60     6.58          18.30         116.34
                311.
         Living Room      Carpet - High grade                     130.65 SF                          0.00       4.92    46.28         128.56         817.64
              312. Contents - move out then reset -
                                            Up                         1.00 EA                       0.00      39.42     2.84              7.88       50.14
              Small room
                                     Up




                       Stairs to 2nd FloorStairs2 (1)
              566. Radiator unit - Large - Detach &                    1.00 EA                       0.00     370.40    26.66          74.08         471.14
                                               Up
               reset(1)
             Closet
              567. Clean radiator unit                                 1.00 EA                       0.00      25.81     1.86              5.16       32.83
Office
              568. Prime  &Room
                      Dining paint radiator unit                       1.00 EA                       0.00      48.79     3.52              9.76       62.07

              Totals: Office                                                                                           739.88       2,055.20       13,070.82


                              Kitchen


                                                           Mudroom                                                                           Height: Sloped

                           Bathroom                                          302.32 SF Walls                           62.09 SF Ceiling
                                          Mudroom                            364.40 SF Walls & Ceiling                 61.83 SF Floor
                                                                               6.87 SY Flooring                        40.33 LF Floor Perimeter
                                                                              40.41 LF Ceil. Perimeter


              DESCRIPTION                                                  QTY       RESET     REMOVE       REPLACE      TAX           O&P          TOTAL

           2019-05-24-1719                                                                                                      6/5/2019             Page: 11


                                                                                                                                      Case ID: 200103150
12



                          Home & Business Public Adjusters
                          434 East Baltimore Pike
                          Media Pa 19063


                                                               CONTINUED - Mudroom

      DESCRIPTION                                        QTY      RESET   REMOVE     REPLACE     TAX            O&P        TOTAL

      488. R&R Outlet or switch cover                6.00 EA                  0.53       2.52     1.32              3.66     23.28
      489. R&R Batt insulation - 6" - R19 -         96.00 SF                  0.24       0.97     8.37          23.22       147.75
      paper faced
      one short and one long wall.
      490. Two coat plaster over 5/8"               62.09 SF                  0.00       7.33    32.77          91.02       578.91
      gypsum core blueboard
      491. Acoustic plaster over 1/2"              302.32 SF                  0.00       7.71   167.82         466.18      2,964.89
      gypsum core blueboard
      re-plaster adjoining short wall. 8' x 12'.
      494. Seal the walls and ceiling w/PVA        364.40 SF                  0.00       0.44    11.54          32.06       203.94
      primer - one coat
      495. R&R Paneling - High grade               364.40 SF                  0.26       2.30    67.17         186.56      1,186.59
      497. R&R Window blind - single cell -          4.00 EA                  9.45     117.70    36.62         101.72       646.94
      7.1 to 14 SF
      498. R&R Light fixture - High grade            1.00 EA                  7.01     100.01     7.70          21.40       136.12
      509. R&R Baseboard - 8" paint grade -         40.33 LF                  0.50       5.40    17.13          47.60       302.68
      2 piece
      510. R&R Quarter round - 3/4" -               40.33 LF                  0.14       1.86     5.81          16.14       102.61
      hardwood
      511. Seal & paint trim - two coats            40.33 LF                  0.00       1.07     3.11              8.64     54.90
      512. Underlayment - 1/2" OSB                  61.83 SF                  0.00       1.81     8.05          22.38       142.34
      513. Vinyl floor covering (sheet goods)       61.83 SF                  0.00       4.40    19.58          54.42       346.05
      - High grade
      515. Contents - move out then reset -          1.00 EA                  0.00      39.42     2.84              7.88     50.14
      Small room
      563. Radiator unit - Large - Detach &          1.00 EA                  0.00     370.40    26.66          74.08       471.14
      reset
      564. Clean radiator unit                       1.00 EA                  0.00      25.81     1.86              5.16     32.83
      565. Prime & paint radiator unit               1.00 EA                  0.00      48.79     3.52              9.76     62.07
      587. R&R French door - Interior -              1.00 EA                 16.38     360.30    27.12          75.34       479.14
      single - pre-hung unit
      586. Paint French door slab only - 2           1.00 EA                  0.00      53.85     3.88          10.78        68.51
      coats (per side)
      588. Paint door/window trim & jamb -           1.00 EA                  0.00      23.71     1.70              4.74     30.15
      2 coats (per side)
      589. R&R Exterior door - solid alder -         1.00 EA                  9.01     789.60    57.51         159.72      1,015.84
      paneled - slab only
      590. Paint door slab only - 2 coats (per       2.00 EA                  0.00      29.89     4.31          11.96        76.05
      side)
      591. Seal & paint door/window trim &           1.00 EA                  0.00      28.20     2.03              5.64     35.87
      jamb - Large (per side)

      Totals: Mudroom                                                                           518.42       1,440.06      9,158.74

     2019-05-24-1719                                                                                     6/5/2019           Page: 12


                                                                                                               Case ID: 200103150
13                      Dining Room




                              Home & Business Public Adjusters
                              434 East Baltimore Pike
                              Media Pa 19063
                      Kitchen




                                             Bathroom                                                                          Height: Sloped
                                                              227.25 SF Walls                            34.10 SF Ceiling
                   Bathroom                                   261.35 SF Walls & Ceiling                  33.92 SF Floor
                                                                3.77 SY Flooring                         29.50 LF Floor Perimeter
                                       Mudroom
                                                               29.56 LF Ceil. Perimeter


      DESCRIPTION                                           QTY       RESET     REMOVE       REPLACE       TAX           O&P          TOTAL

      516. R&R Outlet or switch cover                   2.00 EA                       0.53        2.52     0.43              1.22         7.75
      517. Toilet - Detach & reset                      1.00 EA                       0.00     238.88     17.20          47.78         303.86
      518. Detach & Reset Sink faucet -                 1.00 EA        113.23         0.00        0.00     8.15          22.64         144.02
      Bathroom
      519. Detach & Reset Sink - single -               1.00 EA        140.67         0.00        0.00    10.13          28.14         178.94
      High grade
      520. R&R Vanity - High grade                      2.60 LF                       6.32     168.67     32.76          90.98         578.71
      521. R&R Tub/shower faucet - High                 1.00 EA                     21.02      379.95     28.87          80.20         510.04
      grade
      523. R&R Batt insulation - 6" - R19 -         48.00 SF                          0.24        0.97     4.18          11.62          73.88
      paper faced
      one short and one long wall.
      524. Two coat plaster over 5/8"               34.10 SF                          0.00        7.33    18.00          50.00         317.95
      gypsum core blueboard
      525. Acoustic plaster over 1/2"              227.25 SF                          0.00        7.71   126.16         350.42        2,228.68
      gypsum core blueboard
      re-plaster adjoining short wall. 8' x 12'.
      526. Seal the walls and ceiling w/PVA        261.35 SF                          0.00        0.44     8.28          23.00         146.27
      primer - one coat
      527. Paint the walls and ceiling - two       261.35 SF                          0.00        0.75    14.11          39.20         249.32
      coats
      Ceiling and part of the walls.
      529. R&R Window blind - single cell -             1.00 EA                       9.45     117.70      9.15          25.44         161.74
      7.1 to 14 SF
      530. R&R Hanging light fixture - High             1.00 EA                     10.57       95.91      7.66          21.30         135.44
      grade
      532. Fiberglass shower unit - High                1.00 EA                       0.00    1,115.37    80.30         223.08        1,418.75
      grade
      534. R&R Door jamb per LF - interior -        16.00 LF                          0.31        3.41     4.28          11.92          75.72
      paint grade - 4 9/16"
      bedroom and closet doorway.
      535. R&R Casing - 3 1/4"                      16.00 LF                          0.43        2.27     3.11              8.64       54.95
      536. Paint door/window trim & jamb -              1.00 EA                       0.00      27.77      2.00              5.56       35.33
      Large - 2 coats (per side)
      bedroom and closet doorways


     2019-05-24-1719                                                                                              6/5/2019             Page: 13


                                                                                                                        Case ID: 200103150
14



                                          Home & Business Public Adjusters
                                          434 East Baltimore Pike
                                          Media Pa 19063


                                                                              CONTINUED - Bathroom

              DESCRIPTION                                               QTY       RESET     REMOVE       REPLACE       TAX           O&P          TOTAL

              537. R&R Wood door - panel - solid                    1.00 EA                       7.01     311.66     22.94          63.74          405.35
              pine
              538. Paint door slab only - 2 coats (per              1.00 EA                       0.00      29.89      2.15              5.98        38.02
              side)
              539. R&R Door hinges - High grade                     1.00 EA                       8.40      49.14      4.14          11.50           73.18
              (set of 2)
              541. R&R Door knob - interior - High                  1.00 EA                     10.50       54.25      4.67          12.96           82.38
              grade
              bedroom door
              542. R&R Underlayment - 1/4"                         24.00 SF                       1.07       1.74      4.86          13.50           85.80
              waterproof OSB
              543. Vinyl floor covering (sheet goods)              35.00 SF                       0.00       4.40     11.09          30.80          195.89
              - High grade
              544. Contents - move out then reset -                 1.00 EA                       0.00      78.77      5.68          15.76          100.21
              Large
              Living    room
                     Room

              545. R&R Bath accessory           Up                  1.00 EA                       4.21      26.00      2.17              6.04        38.42
              546. R&R   Toilet     paper holder                    1.00 EA                       4.21      24.63      2.08              5.76        36.68
                                          Up




                     Stairs to 2nd FloorStairs2 (1)

                                                  Up
              Totals:   Bathroom
                Closet (1)                                                                                           434.55       1,207.18        7,677.28

     Office
                                 Dining Room

                                                         Kitchen                                                                                Height: 8'
                                                                          349.33 SF Walls                           106.92 SF Ceiling
                                 Kitchen                                  456.26 SF Walls & Ceiling                 106.92 SF Floor
                                                                           11.88 SY Flooring                         43.67 LF Floor Perimeter
                                                                           43.67 LF Ceil. Perimeter
                               Bathroom
                                               Mudroom

              DESCRIPTION                                               QTY       RESET     REMOVE       REPLACE       TAX           O&P          TOTAL

              360. Sink faucet - Kitchen - Premium                  1.00 EA                       0.00     389.01     28.01          77.80          494.82
              grade
              361. Sink - double - High grade                       1.00 EA                       0.00     491.47     35.39          98.30          625.16
              363. 1/2" drywall - hung, taped, with            349.33 SF                          0.00       2.52     63.38         176.06        1,119.75
              smooth wall finish
              365. 5/8" drywall - hung, taped,                 106.92 SF                          0.00       1.97     15.17          42.12          267.92
              floated, ready for paint
              366. Seal the walls and ceiling w/PVA            456.26 SF                          0.00       0.44     14.46          40.16          255.37
              primer - one coat
              367. Paint the walls and ceiling - two           456.26 SF                          0.00       0.75     24.64          68.44          435.28
              coats
              368. Batt insulation - 6" - R19 -                100.00 SF                          0.00       0.96      6.91          19.20          122.11
              unfaced batt
              369. Outlet or switch cover                           6.00 EA                       0.00       2.52      1.09              3.02        19.23
          2019-05-24-1719                                                                                                     6/5/2019             Page: 14


                                                                                                                                    Case ID: 200103150
15



                                            Home & Business Public Adjusters
                                            434 East Baltimore Pike
                                            Media Pa 19063


                                                                                              CONTINUED - Kitchen

                DESCRIPTION                                                            QTY       RESET     REMOVE       REPLACE       TAX            O&P             TOTAL

                373. Light fixture - High grade                                    4.00 EA                       0.00     100.01     28.80           80.00             508.84
                375. Custom cabinets - base units                                 10.00 LF                       0.00     207.75    149.58          415.50           2,642.58
                376. Custom cabinets - wall units - 30"                           10.00 LF                       0.00     365.21    262.96          730.42           4,645.48
                tall - Premium grade
                377. Toe kick - pre-finished wood -                               13.00 LF                       0.00       8.34       7.81          21.68             137.91
                1/2"
                378. Countertop - Granite or Marble -                             26.00 SF                       0.00      87.59    163.97          455.46           2,896.77
                High grade
                379. Underlayment - 1/2" OSB                                    106.92 SF                        0.00       1.46     11.24           31.22             198.56
                380. Vinyl floor covering (sheet goods)                         106.92 SF                        0.00       4.40     33.88           94.10             598.43
                - High grade
                390. Casing - 3 1/4 " doorway to                                  32.00 LF                       0.00       2.27       5.23          14.52              92.39
                dining room
                391. Seal & paint trim - two coats                                32.00 LF                       0.00       1.07       2.46              6.84           43.54
                395. Casing - 2 1/4"                                              12.00 LF                       0.00       1.62       1.40              3.88           24.72
                396. Seal & paint casing - two coats                              12.00 LF                       0.00       1.12       0.97              2.68           17.09
                560. Radiator unit - Large - Detach &                              1.00 EA                       0.00     370.40     26.66           74.08             471.14
                reset
                561. Clean radiator unit                                           1.00 EA                       0.00      25.81       1.86              5.16           32.83
                562. Prime & paint radiator unit                                   1.00 EA                       0.00      48.79       3.52              9.76           62.07
                585. Paint French door slab only - 2                               1.00 EA                       0.00      53.85       3.88          10.78              68.51
                coats (per side)
                577. R&R French door - Interior -                                  1.00 EA                      16.38     360.30     27.12           75.34             479.14
                single - pre-hung unit
                578. Paint door/window trim & jamb -                               1.00 EA                       0.00      23.71       1.70              4.74           30.15
                2 coats (per side)

                Totals: Kitchen                                                                                                     922.09        2,561.26          16,289.79

                Total: Main Level                                                                                                  4,413.98      12,261.04          77,979.19

                                                                                                    2nd Floor


                                                                    Hallway/Landing                                                                             Height: 8' 8"
                                                                   Bathroom (1)          258.13 SF Walls                           62.01 SF Ceiling
Closet1 (2)
                                 Hallway/Landing
                                                                                         320.15 SF Walls & Ceiling                 62.01 SF Floor
                                                        Bathroom
       Bedroom 2 - front left
                                                                                           6.89 SY Flooring                        29.08 LF Floor Perimeter
                                                                                          31.50 LF Ceil. Perimeter

                       Closet2 (1)                   Linen Closet (2)
                              Landing (1)




              2019-05-24-1719                                                                                                                 6/5/2019                Page: 15
                                          Bedroom 3 - rear right

                                                                                                                                                    Case ID: 200103150
              bedroom 4 - rear left

edroom 1 (1)                                                       Closet (1)
16



                                           Home & Business Public Adjusters
                                           434 East Baltimore Pike
                                           Media Pa 19063
                                                                         Bathroom (1)


et1 (2)
                                    Hallway/Landing
                                                         Bathroom
                                                                                        CONTINUED - Hallway/Landing
      Bedroom 2 - front left



                                                            Subroom: Landing (1)                                                                                 Height: 8'
                       Closet2 (1)                    Linen Closet (2)
                                Landing (1)                                             103.84 SF Walls                              17.48 SF Ceiling
                                                                                        121.32 SF Walls & Ceiling                    17.48 SF Floor
                                                                                          1.94 SY Flooring                           12.42 LF Floor Perimeter
                                                                                         14.84 LF Ceil. Perimeter

                                 Bedroom 3 - rear right
               Missing Wall - Goes
            bedroom 4 - rear left  to Floor                                              2' 5" X 6' 5"                   Opens into HALLWAY_LAND
om 1 (1)       Missing Wall                                              Closet (1)      1 5/8" X 8'                     Opens into Exterior
               Missing Wall                                                              3' 2" X 8'                      Opens into Exterior
               DESCRIPTION                                                            QTY       RESET     REMOVE       REPLACE         TAX            O&P          TOTAL

               174. R&R Outlet or switch cover                               2.00 EA                            0.53        2.52        0.43              1.22         7.75
               175. Blown-in insulation - 20" depth -                      79.50 SF                             0.00        1.79       10.25          28.46          181.02
               R50
               176. R&R Batt insulation - 6" - R19 -                       56.00 SF                             0.24        0.97        4.88          13.54           86.18
               paper faced
               one short and one long wall.
               177. Two coat plaster over 5/8"                             79.50 SF                             0.00        7.33       41.95         116.54          741.23
               gypsum core blueboard
               178. Acoustic plaster over 1/2"                            361.97 SF                             0.00        7.71      200.94         558.16        3,549.89
               gypsum core blueboard
               re-plaster adjoining short wall. 8' x 12'.
               181. Seal the walls and ceiling w/PVA                      441.47 SF                             0.00        0.44       13.99          38.86          247.10
               primer - one coat
               182. Wallpaper - High grade                                361.97 SF                             0.00        2.34       60.98         169.40        1,077.39
               183. Paint casing - two coats                               79.50 LF                             0.00        1.08        6.18          17.18          109.22
               ceiling and one short wall
               202. R&R Crown molding - 4 1/4"                             46.34 LF                             0.57        4.08       15.51          43.10          274.09
               203. Seal & paint crown molding - two                       46.34 LF                             0.00        1.20        4.01          11.12           70.74
               coats
               184. R&R Window blind - single cell -                         2.00 EA                            9.45      117.70       18.30          50.86          323.46
               7.1 to 14 SF
               185. R&R Hanging light fixture - High                         2.00 EA                          10.57        95.91       15.33          42.58          270.87
               grade
               186. R&R Door jamb per LF - interior -                      16.00 LF                             0.31        3.41        4.28          11.92           75.72
               paint grade - 4 9/16"
               bedroom and closet doorway.
               187. R&R Casing - 3 1/4"                                    27.00 LF                             0.43        2.27        5.26          14.58           92.74
               188. R&R Casing - 8" - hardwood - 2                           6.00 LF                            0.53        9.10        4.17          11.56           73.51
               piece
               top of doorway

           2019-05-24-1719                                                                                                                     6/5/2019             Page: 16


                                                                                                                                                     Case ID: 200103150
 17



                                              Home & Business Public Adjusters
                                              434 East Baltimore Pike
                                              Media Pa 19063


                                                                                  CONTINUED - Hallway/Landing

                 DESCRIPTION                                                   QTY          RESET   REMOVE      REPLACE       TAX           O&P             TOTAL

                 189. Paint door/window trim & jamb -                      1.00 EA                       0.00      27.77      2.00              5.56           35.33
                 Large - 2 coats (per side)
                 bedroom and closet doorways
                 195. R&R Baseboard - 8" paint grade -                    41.50 LF                       0.50       5.40     17.64          48.98             311.47
                 2 piece
                 196. R&R Quarter round - 3/4" -                          41.50 LF                       0.14       1.86      5.98          16.60             105.58
                 hardwood
                 197. Seal & paint trim - two coats                       41.50 LF                       0.00       1.07      3.19              8.88           56.48
                 198. Sand and seal wood floor                            79.50 SF                       0.00       3.32     19.01          52.78             335.73
                 199. R&R Carpet pad                                      79.50 SF                       0.10       0.60      4.01          11.14              70.80
                 200. Carpet - High grade                                 79.50 SF                       0.00       4.92     28.16          78.22             497.52
                 201. Contents - move out then reset -                     1.00 EA                       0.00      78.77      5.68          15.76             100.21
                 Large room          Bathroom (1)

 1 (2)             Hallway/Landing
                 Totals:   Hallway/Landing
                                   Bathroom                                                                                 492.13       1,367.00           8,694.03
Bedroom 2 - front left


                                         Bathroom (1)
              Closet2 (1)               Linen Closet (2)
                    Landing (1)
                                                                   Bedroom 3 - rear right                                                              Height: 8' 8"
way/Landing
                         Bathroom
                                                                                 395.98 SF Walls                           120.46 SF Ceiling
    bedroom 4 - rear left
                             Bedroom 3 - rear right                              516.43 SF Walls & Ceiling                 120.46 SF Floor
m 1 (1)                                               Closet (1)                  13.38 SY Flooring                         45.69 LF Floor Perimeter
  (1)
                     Linen Closet (2)                                             45.69 LF Ceil. Perimeter




                                                                   Subroom: Closet (1)                                                                 Height: 8' 8"
         Bedroom 3 - rear right
                                                                                 150.22 SF Walls                            11.22 SF Ceiling
                                        Closet (1)                               161.44 SF Walls & Ceiling                  11.22 SF Floor
                                                                                   1.25 SY Flooring                         17.33 LF Floor Perimeter
                                                                                  17.33 LF Ceil. Perimeter


                 DESCRIPTION                                                   QTY          RESET   REMOVE      REPLACE       TAX           O&P             TOTAL

                 86. R&R Outlet or switch cover                            4.00 EA                       0.53       2.52      0.88              2.44           15.52
                 27. Blown-in insulation - 20" depth -                   131.67 SF                       0.00       1.79     16.97          47.14             299.80
                 R50
                 60. R&R Batt insulation - 6" - R19 -                    273.10 SF                       0.24       0.97     23.79          66.08             420.32
                 paper faced
                 one short and one long wall.
                 28. Two coat plaster over 5/8" gypsum                   131.67 SF                       0.00       7.33     69.49         193.02           1,227.65
                 core blueboard
              2019-05-24-1719                                                                                                        6/5/2019                Page: 17


                                                                                                                                           Case ID: 200103150
18



                          Home & Business Public Adjusters
                          434 East Baltimore Pike
                          Media Pa 19063


                                                         CONTINUED - Bedroom 3 - rear right

      DESCRIPTION                                        QTY      RESET    REMOVE      REPLACE         TAX            O&P        TOTAL

      29. Acoustic plaster over 1/2" gypsum        546.20 SF                    0.00           7.71   303.20         842.24      5,356.64
      core blueboard
      re-plaster adjoining short wall. 8' x 12'.
      42. R&R Crown molding - 4 1/4"                63.02 LF                    0.57           4.08    21.11          58.60       372.75
      44. Seal & paint crown molding - two          63.02 LF                    0.00           1.20     5.45          15.12        96.19
      coats
      45. Seal the walls and ceiling w/PVA         677.87 SF                    0.00           0.44    21.48          59.66       379.40
      primer - one coat
      46. Wallpaper - High grade                   546.20 SF                    0.00           2.34    92.03         255.62      1,625.76
      77. Paint casing - two coats                 131.67 LF                    0.00           1.08    10.24          28.44       180.88
      ceiling and one short wall
      47. R&R Window blind - single cell -           2.00 EA                    9.45      117.70       18.30          50.86       323.46
      7.1 to 14 SF
      49. R&R Hanging light fixture - High           1.00 EA                   10.57          95.91     7.66          21.30       135.44
      grade
      62. R&R Door jamb per LF - interior -         32.00 LF                    0.31           3.41     8.58          23.80       151.42
      paint grade - 4 9/16"
      bedroom and closet doorway.
      63. R&R Casing - 3 1/4"                       27.00 LF                    0.43           2.27     5.26          14.58        92.74
      68. R&R Casing - 8" - hardwood - 2             6.00 LF                    0.53           9.10     4.17          11.56        73.51
      piece
      top of doorway
      51. Paint door/window trim & jamb -            2.00 EA                    0.00          27.77     4.00          11.10        70.64
      Large - 2 coats (per side)
      bedroom and closet doorways
      69. R&R Wood door - panel - solid              2.00 EA                    7.01      311.66       45.89         127.46       810.69
      pine
      52. Paint door slab only - 2 coats (per        2.00 EA                    0.00          29.89     4.31          11.96        76.05
      side)
      71. R&R Door hinges - High grade               2.00 EA                    8.40          49.14     8.29          23.02       146.39
      (set of 2)
      73. R&R Door dummy knob - interior -           1.00 EA                    6.30          31.36     2.72              7.54     47.92
      High grade
      closet door
      74. R&R Door knob - interior - High            1.00 EA                   10.50          54.25     4.67          12.96        82.38
      grade
      bedroom door
      81. R&R Baseboard - 8" paint grade -          63.02 LF                    0.50           5.40    26.77          74.36       472.95
      2 piece
      53. R&R Quarter round - 3/4" -                63.02 LF                    0.14           1.86     9.08          25.20       160.32
      hardwood
      54. Seal & paint trim - two coats             63.02 LF                    0.00           1.07     4.86          13.48        85.77

     2019-05-24-1719                                                                                           6/5/2019           Page: 18


                                                                                                                     Case ID: 200103150
19



                                      Home & Business Public Adjusters
                                      434 East Baltimore Pike
                                      Media Pa 19063


                                                                                              CONTINUED - Bedroom 3 - rear right

            DESCRIPTION                                                                       QTY                RESET          REMOVE         REPLACE      TAX           O&P             TOTAL

            55. Sand and seal wood floor                                         131.67 SF                                          0.00           3.32    31.48          87.42             556.04
            83. R&R Carpet pad                                                   131.67 SF                                          0.10           0.60     6.64          18.44             117.25
            85. Carpet - High grade                                              131.67 SF                                          0.00           4.92    46.64         129.56             824.02
            57. Contents - move out then reset -                                      1.00 EA                                       0.00          39.42     2.84              7.88           50.14
            Small room
            547. Radiator unit - Large - Detach &                                     1.00 EA                                       0.00         370.40    26.66          74.08             471.14
            reset
            549. Clean radiator unit                                                  1.00 EA                                       0.00          25.81     1.86              5.16           32.83
            550. Prime & paint radiator unit                                          1.00 EA                                       0.00          48.79     3.52              9.76           62.07

            Totals: Bedroom 3 - rear right                                                                                                                838.84       2,329.84          14,818.08




                                                                   Bedroom 2 - front left                                                                                            Height: 8' 8"
                                                                               Bathroom (1)

                    Closet1 (2)               Hallway/Landing
                                                                                                322.11 SF Walls                                           67.50 SF Ceiling
                                                                      Bathroom
                         Bedroom 2 - front left                                                 389.61 SF Walls & Ceiling                                 67.50 SF Floor
                                                                                                  7.50 SY Flooring                                        37.17 LF Floor Perimeter
                                        Closet2 (1)
                                              Landing (1)
                                                                   Linen Closet (2)              37.17 LF Ceil. Perimeter



                                                      Bedroom 3 - rear right
                              bedroom 4 - rear left                Subroom: Closet1 (2)                                           Bathroom (1)                                       Height: 8' 8"
                  Bedroom 1 (1)                                                  Closet (1)
                                                                                                                 Bathroom (1)
                                                                                                153.11 SF Walls                                           11.94 SF Ceiling
                          Closet1 (2)
                                                                    Hallway/Landing
                                                                                                165.06 SF Walls & Ceiling                                 11.94 SF Floor
                                                                                                 Bathroom
                                                      Hallway/Landing                              1.33 SY Flooring                                       17.67 LF Floor Perimeter
                                     Bedroom 2 - front left
                                                                                                  17.67 LFBathroom
                                                                                                             Ceil. Perimeter
     Bedroom 2 - front left
                                                      Closet2 (1)                             Linen Closet (2)
                                                               Landing (1)


                                                                   Subroom: Closet2 (1)                                                                                              Height: 8' 8"
                                                                                                 57.78 SF Walls                                            1.00 SF Ceiling
                              Closet2 (1)                                                        58.78     SFCloset
                                                                                                        Linen   Walls(2)& Ceiling                          1.00 SF Floor
                                               Landing (1)                                          0.11 SY Flooring
                                                                                 Bedroom 3 - rear right                                                    6.67 LF Floor Perimeter
                                           bedroom 4 - rear left

                         Bedroom 1 (1)                                                              6.67 LF     Ceil. Perimeter
                                                                                                            Closet (1)




            DESCRIPTION                                                                       QTY                RESET          REMOVE         REPLACE      TAX           O&P             TOTAL

            87. R&R Outlet or switch cover                                            4.00 EA                                       0.53           2.52     0.88              2.44           15.52
            88. Blown-in insulation - 20" depth -                                 80.44 SF                                          0.00           1.79    10.37          28.80             183.16
            R50
         2019-05-24-1719                                                                                                                                           6/5/2019                Page: 19
                                                                                  Bedroom 3 - rear right
             bedroom 4 - rear left
                                                                                                                                                                         Case ID: 200103150
1)                                                                                                                                Closet (1)
20



                          Home & Business Public Adjusters
                          434 East Baltimore Pike
                          Media Pa 19063


                                                         CONTINUED - Bedroom 2 - front left

      DESCRIPTION                                        QTY      RESET    REMOVE      REPLACE         TAX            O&P        TOTAL

      89. R&R Batt insulation - 6" - R19 -         266.00 SF                    0.24           0.97    23.18          64.36       409.40
      paper faced
      one short and one long wall.
      90. Two coat plaster over 5/8" gypsum         80.44 SF                    0.00           7.33    42.46         117.92       750.01
      core blueboard
      91. Acoustic plaster over 1/2" gypsum        533.00 SF                    0.00           7.71   295.88         821.88      5,227.19
      core blueboard
      re-plaster adjoining short wall. 8' x 12'.
      92. Suspended ceiling grid - High             80.44 SF                    0.00           1.51     8.75          24.30       154.51
      grade - 2' x 4'
      93. Suspended ceiling tile - High grade       80.44 SF                    0.00           1.75    10.14          28.16       179.07
      - 2' x 4'
      94. Seal the walls and ceiling w/PVA         613.44 SF                    0.00           0.44    19.43          53.98       343.32
      primer - one coat
      95. Wallpaper - High grade                   533.00 SF                    0.00           2.34    89.80         249.44      1,586.46
      96. Paint casing - two coats                  80.44 LF                    0.00           1.08     6.25          17.38       110.51
      ceiling and one short wall
      97. R&R Window blind - single cell -           2.00 EA                    9.45      117.70       18.30          50.86       323.46
      7.1 to 14 SF
      98. R&R Hanging light fixture - High           1.00 EA                   10.57          95.91     7.66          21.30       135.44
      grade
      99. R&R Door jamb per LF - interior -         32.00 LF                    0.31           3.41     8.58          23.80       151.42
      paint grade - 4 9/16"
      bedroom and closet doorway.
      100. R&R Casing - 3 1/4"                      27.00 LF                    0.43           2.27     5.26          14.58        92.74
      101. R&R Casing - 8" - hardwood - 2            6.00 LF                    0.53           9.10     4.17          11.56        73.51
      piece
      top of doorway
      102. Paint door/window trim & jamb -           2.00 EA                    0.00          27.77     4.00          11.10        70.64
      Large - 2 coats (per side)
      bedroom and closet doorways
      103. R&R Wood door - panel - solid             2.00 EA                    7.01      311.66       45.89         127.46       810.69
      pine
      104. Paint door slab only - 2 coats (per       2.00 EA                    0.00          29.89     4.31          11.96        76.05
      side)
      105. R&R Door hinges - High grade              2.00 EA                    8.40          49.14     8.29          23.02       146.39
      (set of 2)
      106. R&R Door dummy knob -                     1.00 EA                    6.30          31.36     2.72              7.54     47.92
      interior - High grade
      closet door
      107. R&R Door knob - interior - High           1.00 EA                   10.50          54.25     4.67          12.96        82.38
      grade
      bedroom door
     2019-05-24-1719                                                                                           6/5/2019           Page: 20


                                                                                                                     Case ID: 200103150
21



                                 Home & Business Public Adjusters
                                 434 East Baltimore Pike
                                 Media Pa 19063


                                                                                    CONTINUED - Bedroom 2 - front left

      DESCRIPTION                                                                   QTY            RESET          REMOVE    REPLACE      TAX           O&P             TOTAL

      108. R&R Baseboard - 8" paint grade -                              61.50 LF                                    0.50       5.40    26.14          72.58             461.57
      2 piece
      109. R&R Quarter round - 3/4" -                                    61.50 LF                                    0.14       1.86     8.85          24.60             156.45
      hardwood
      110. Seal & paint trim - two coats                                 61.50 LF                                    0.00       1.07     4.74          13.16              83.71
      111. Sand and seal wood floor                                      80.44 SF                                    0.00       3.32    19.22          53.42             339.70
      112. R&R Carpet pad                                                80.44 SF                                    0.10       0.60     4.06          11.26              71.62
      113. Carpet - High grade                                           80.44 SF                                    0.00       4.92    28.50          79.16             503.42
      114. Contents - move out then reset -                                1.00 EA                                   0.00      39.42     2.84              7.88           50.14
      Small room
      551. Radiator unit - Large - Detach &                                1.00 EA                                   0.00     370.40    26.66          74.08             471.14
      reset
      552. Clean radiator unit                                             1.00 EA                                   0.00      25.81     1.86              5.16           32.83
      553. Prime & paint radiator unit                                     1.00 EA                                   0.00      48.79     3.52              9.76           62.07
                                                                     Bathroom (1)

           Closet1 (2)     Hallway/Landing
      Totals: Bedroom 2 - front  left                       Bathroom                                                                   747.38       2,075.86          13,202.44
                Bedroom 2 - front left



                             Closet2 (1)              Linen Closet (2)                             Bathroom (1)
                                   Landing (1)

                   Closet1 (2)
                                                            bedroom 4 - rear left                                                                                 Height: 8' 8"
                                                            Hallway/Landing
                                                                                        Bathroom
                             Bedroom 2 - front left
                                                                                      363.16 SF Walls                                  98.32 SF Ceiling
                    bedroom 4 - rear left
                                            Bedroom 3 - rear right                    461.48 SF Walls & Ceiling                        98.32 SF Floor
          Bedroom 1 (1)                                              Closet (1)          10.92 SY Flooring                             41.90 LF Floor Perimeter
                                              Closet2 (1)                           Linen41.90
                                                                                          Closet (2)LF Ceil. Perimeter
                                                       Landing (1)




                                                            Subroom: Bedroom 1 (1)                                                                                Height: 8' 8"
                                                                        Bedroom 3 - rear right
                                    bedroom 4 - rear left                              154.56 SF Walls                                 12.54 SF Ceiling
                  Bedroom 1 (1)                                                        167.10 SF   Walls
                                                                                               Closet (1) & Ceiling                    12.54 SF Floor
                                                                                         1.39 SY Flooring                              17.83 LF Floor Perimeter
                                                                                        17.83 LF Ceil. Perimeter


      DESCRIPTION                                                                   QTY            RESET          REMOVE    REPLACE      TAX           O&P             TOTAL

      115. R&R Outlet or switch cover                                      4.00 EA                                   0.53       2.52     0.88              2.44           15.52
      116. Blown-in insulation - 20" depth -                           110.86 SF                                     0.00       1.79    14.29          39.68             252.41
      R50
      117. R&R Batt insulation - 6" - R19 -                            250.00 SF                                     0.24       0.97    21.78          60.50             384.78
      paper faced
      one short and one long wall.

     2019-05-24-1719                                                                                                                            6/5/2019                Page: 21


                                                                                                                                                      Case ID: 200103150
22



                          Home & Business Public Adjusters
                          434 East Baltimore Pike
                          Media Pa 19063


                                                          CONTINUED - bedroom 4 - rear left

      DESCRIPTION                                        QTY      RESET     REMOVE      REPLACE         TAX            O&P        TOTAL

      118. Two coat plaster over 5/8"              110.86 SF                     0.00           7.33    58.51         162.52      1,033.63
      gypsum core blueboard
      119. Acoustic plaster over 1/2"              517.72 SF                     0.00           7.71   287.40         798.32      5,077.34
      gypsum core blueboard
      re-plaster adjoining short wall. 8' x 12'.
      144. Suspended ceiling grid - High           110.86 SF                     0.00           1.51    12.05          33.48       212.93
      grade - 2' x 4'
      145. Suspended ceiling tile - High           110.86 SF                     0.00           1.75    13.97          38.80       246.78
      grade - 2' x 4'
      122. Seal the walls and ceiling w/PVA        628.58 SF                     0.00           0.44    19.91          55.32       351.81
      primer - one coat
      123. Wallpaper - High grade                  517.72 SF                     0.00           2.34    87.23         242.30      1,540.99
      124. Paint casing - two coats                110.86 LF                     0.00           1.08     8.62          23.94       152.29
      ceiling and one short wall
      125. R&R Window blind - single cell -          2.00 EA                     9.45         117.70    18.30          50.86       323.46
      7.1 to 14 SF
      126. R&R Hanging light fixture - High          1.00 EA                    10.57          95.91     7.66          21.30       135.44
      grade
      127. R&R Door jamb per LF - interior -        32.00 LF                     0.31           3.41     8.58          23.80       151.42
      paint grade - 4 9/16"
      bedroom and closet doorway.
      128. R&R Casing - 3 1/4"                      27.00 LF                     0.43           2.27     5.26          14.58        92.74
      129. R&R Casing - 8" - hardwood - 2            6.00 LF                     0.53           9.10     4.17          11.56        73.51
      piece
      top of doorway
      130. Paint door/window trim & jamb -           2.00 EA                     0.00          27.77     4.00          11.10        70.64
      Large - 2 coats (per side)
      bedroom and closet doorways
      131. R&R Wood door - panel - solid             2.00 EA                     7.01         311.66    45.89         127.46       810.69
      pine
      132. Paint door slab only - 2 coats (per       2.00 EA                     0.00          29.89     4.31          11.96        76.05
      side)
      133. R&R Door hinges - High grade              2.00 EA                     8.40          49.14     8.29          23.02       146.39
      (set of 2)
      134. R&R Door dummy knob -                     1.00 EA                     6.30          31.36     2.72              7.54     47.92
      interior - High grade
      closet door
      135. R&R Door knob - interior - High           1.00 EA                    10.50          54.25     4.67          12.96        82.38
      grade
      bedroom door
      136. R&R Baseboard - 8" paint grade -         59.74 LF                     0.50           5.40    25.38          70.50       448.35
      2 piece


     2019-05-24-1719                                                                                            6/5/2019           Page: 22


                                                                                                                      Case ID: 200103150
 23



                                               Home & Business Public Adjusters
                                               434 East Baltimore Pike
                                               Media Pa 19063


                                                                                   CONTINUED - bedroom 4 - rear left

                   DESCRIPTION                                                    QTY             RESET   REMOVE      REPLACE       TAX           O&P             TOTAL

                   137. R&R Quarter round - 3/4" -                           59.74 LF                          0.14       1.86      8.60          23.90             151.98
                   hardwood
                   138. Seal & paint trim - two coats                        59.74 LF                          0.00       1.07      4.61          12.78              81.31
                   139. Sand and seal wood floor                            110.86 SF                          0.00       3.32     26.50          73.62             468.18
                   140. R&R Carpet pad                                      110.86 SF                          0.10       0.60      5.59          15.52              98.72
                   141. Carpet - High grade                                 110.86 SF                          0.00       4.92     39.28         109.08             693.79
                   142. Contents - move out then reset -                      1.00 EA                          0.00      39.42      2.84              7.88           50.14
                   Small room
                   554. Radiator unit - Large - Detach &                      1.00 EA                          0.00     370.40     26.66          74.08             471.14
                   reset
                   555. Clean radiator unit                                   1.00 EA                          0.00      25.81      1.86              5.16           32.83
                   556. Prime & paint radiator unit                           1.00 EA                          0.00      48.79      3.52              9.76           62.07

                   Totals: bedroom 4 - rear left                                                                                  783.33       2,175.72          13,837.63




                                                                     Bathroom                                                                                Height: 8' 8"
                                              Bathroom (1)

              Hallway/Landing
                                                                                    320.22 SF Walls                               65.07 SF Ceiling
                                   Bathroom
m 2 - front left                                                                    385.29 SF Walls & Ceiling                     65.07 SF Floor
                                                                                      7.23 SY Flooring                            38.33 LF Floor Perimeter
      Closet2 (1)
            Landing (1)
                                Linen Closet (2)                                     38.33 LF Ceil. Perimeter



                     Bedroom 3 - rear right
room 4 - rear left                                                   Subroom: Bathroom (1)                                                                   Height: 8' 8"
                                              Closet (1)
                                                             Bathroom (1)               80.44 SF Walls                             7.10 SF Ceiling
                                Bathroom (1)                                            87.55 SF Walls & Ceiling                   7.10 SF Floor
                                                                                         0.79 SY Flooring                         10.67 LF Floor Perimeter
                                                                                        10.67 LF Ceil. Perimeter
                                Bathroom

 Bathroom Missing Wall - Goes to neither Floor/Ceiling                                  2' X 6'                         Opens into BATHROOM


                                                                     Subroom: Linen Closet (2)                                                               Height: 6' 4"
                                                                                        84.44 SF Walls                            11.00 SF Ceiling
                          Linen Closet (2)                                              95.44 SF Walls & Ceiling                  11.00 SF Floor
                                                                                         1.22 SY Flooring                         13.33 LF Floor Perimeter
 en Closet (2)                                                                          13.33 LF Ceil. Perimeter


              2019-05-24-1719                                                                                                              6/5/2019                Page: 23


                                                                                                                                                 Case ID: 200103150
24



                          Home & Business Public Adjusters
                          434 East Baltimore Pike
                          Media Pa 19063


                                                               CONTINUED - Bathroom

      DESCRIPTION                                        QTY      RESET     REMOVE    REPLACE      TAX            O&P        TOTAL

      146. R&R Outlet or switch cover                2.00 EA                   0.53        2.52     0.43              1.22       7.75
      204. Toilet - Detach & reset                   1.00 EA                   0.00     238.88     17.20          47.78       303.86
      206. Detach & Reset Sink faucet -              1.00 EA       113.23      0.00        0.00     8.15          22.64       144.02
      Bathroom
      225. Detach & Reset Sink - single -            1.00 EA       140.67      0.00        0.00    10.13          28.14       178.94
      High grade
      207. R&R Countertop - flat laid plastic        7.00 LF                   3.63      43.76     23.88          66.34       421.95
      laminate - High grade
      226. R&R Tub/shower faucet - High              1.00 EA                  21.02     379.95     28.87          80.20       510.04
      grade
      147. Blown-in insulation - 20" depth -        83.17 SF                   0.00        1.79    10.72          29.78       189.37
      R50
      148. R&R Batt insulation - 6" - R19 -        243.00 SF                   0.24        0.97    21.17          58.80       374.00
      paper faced
      one short and one long wall.
      149. Two coat plaster over 5/8"               83.17 SF                   0.00        7.33    43.90         121.92       775.46
      gypsum core blueboard
      150. Acoustic plaster over 1/2"              485.11 SF                   0.00        7.71   269.29         748.04      4,757.53
      gypsum core blueboard
      re-plaster adjoining short wall. 8' x 12'.
      153. Seal the walls and ceiling w/PVA        568.28 SF                   0.00        0.44    18.00          50.00       318.04
      primer - one coat
      154. Paint the ceiling - two coats            83.17 SF                   0.00        0.75     4.49          12.48        79.35
      Ceiling and part of the walls.
      227. R&R Wallpaper - High grade              210.00 SF                   0.70        2.34    45.96         127.68       812.04
      156. R&R Window blind - single cell -          1.00 EA                   9.45     117.70      9.15          25.44       161.74
      7.1 to 14 SF
      157. R&R Hanging light fixture - High          1.00 EA                  10.57      95.91      7.66          21.30       135.44
      grade
      213. Ceramic/porcelain tile - Hig            210.00 SF                   0.00      13.33    201.55         559.86      3,560.71
      h grade
      215. Tile tub surround - up to 60 SF           1.00 EA                   0.00    1,099.96    79.20         220.00      1,399.16
      216. Tile - toilet paper holder - High         1.00 EA                   0.00      43.58      3.13              8.72     55.43
      grade
      158. R&R Door jamb per LF - interior -        32.00 LF                   0.31        3.41     8.58          23.80       151.42
      paint grade - 4 9/16"
      bedroom and closet doorway.
      159. R&R Casing - 3 1/4"                      27.00 LF                   0.43        2.27     5.26          14.58        92.74
      161. Paint door/window trim & jamb -           2.00 EA                   0.00      27.77      4.00          11.10        70.64
      Large - 2 coats (per side)
      bedroom and closet doorways
      162. R&R Wood door - panel - solid             2.00 EA                   7.01     311.66     45.89         127.46       810.69
      pine
     2019-05-24-1719                                                                                       6/5/2019           Page: 24


                                                                                                                 Case ID: 200103150
25



                         Home & Business Public Adjusters
                         434 East Baltimore Pike
                         Media Pa 19063


                                                             CONTINUED - Bathroom

      DESCRIPTION                                      QTY       RESET   REMOVE     REPLACE         TAX            O&P          TOTAL

      163. Paint door slab only - 2 coats (per     2.00 EA                   0.00       29.89        4.31          11.96           76.05
      side)
      164. R&R Door hinges - High grade            2.00 EA                   8.40       49.14        8.29          23.02         146.39
      (set of 2)
      165. R&R Door dummy knob -                   1.00 EA                   6.30       31.36        2.72              7.54        47.92
      interior - High grade
      closet door
      166. R&R Door knob - interior - High         1.00 EA                  10.50       54.25        4.67          12.96           82.38
      grade
      bedroom door
      217. R&R Underlayment - 1/4"                24.00 SF                   1.07         1.74       4.86          13.50           85.80
      waterproof OSB
      219. Tile floor covering - Premium          44.00 SF                   0.00       14.68      46.51          129.18         821.61
      grade
      173. Contents - move out then reset -        1.00 EA                   0.00       39.42        2.84              7.88        50.14
      Small room
      557. Radiator unit - Large - Detach &        1.00 EA                   0.00      370.40      26.66           74.08         471.14
      reset
      558. Clean radiator unit                     1.00 EA                   0.00       25.81        1.86              5.16        32.83
      559. Prime & paint radiator unit             1.00 EA                   0.00       48.79        3.52              9.76        62.07

      Totals: Bathroom                                                                            972.85        2,702.32       17,186.65

      Total: 2nd Floor                                                                           3,834.53      10,650.74       67,738.83




                                           Miscellaneous - Remediation

      DESCRIPTION                                      QTY       RESET   REMOVE     REPLACE         TAX            O&P          TOTAL

      592. Proaction Restoration - invoice         1.00 EA                   0.00    15,060.96       0.00              0.00    15,060.96
      paid

      Totals: Miscellaneous - Remediation                                                            0.00              0.00    15,060.96

      Labor Minimums Applied

      DESCRIPTION                                      QTY       RESET   REMOVE     REPLACE         TAX            O&P          TOTAL

      220. Tile floor covering labor               1.00 EA                   0.00       17.72        1.27              3.54        22.53
      minimum
      319. Framing labor minimum                   1.00 EA                   0.00       49.06        3.53              9.82        62.41

      Totals: Labor Minimums Applied                                                                 4.80          13.36           84.94

      Line Item Totals: 2019-05-24-1719                                                          8,722.76      24,229.14      169,157.13

     2019-05-24-1719                                                                                        6/5/2019             Page: 25


                                                                                                                  Case ID: 200103150
26



                       Home & Business Public Adjusters
                       434 East Baltimore Pike
                       Media Pa 19063




      Grand Total Areas:
           5,794.75 SF Walls                     1,797.17 SF Ceiling              7,591.92 SF Walls and Ceiling
           1,852.99 SF Floor                       205.89 SY Flooring               724.77 LF Floor Perimeter
               0.00 SF Long Wall                     0.00 SF Short Wall             754.20 LF Ceil. Perimeter

           1,852.99 Floor Area                   2,077.70 Total Area              5,403.38 Interior Wall Area
           2,963.04 Exterior Wall Area             349.76 Exterior Perimeter of
                                                          Walls

               0.00 Surface Area                     0.00 Number of Squares           0.00 Total Perimeter Length
               0.00 Total Ridge Length               0.00 Total Hip Length




     2019-05-24-1719                                                                              6/5/2019          Page: 26


                                                                                                         Case ID: 200103150
1



                   Home & Business Public Adjusters
                   434 East Baltimore Pike
                   Media Pa 19063




                                                            Summary
    Line Item Total                                                        136,205.23
    Overhead                                                                12,114.57
    Profit                                                                  12,114.57
    Cleaning Total Tax                                                       8,722.76

    Replacement Cost Value                                                $169,157.13
    Net Claim                                                             $169,157.13




                                             Blaine Jelus
                                             Adjuster




                                                                      Case ID: 200103150
2



                      Home & Business Public Adjusters
                      434 East Baltimore Pike
                      Media Pa 19063




                                                Recap of Taxes, Overhead and Profit




                                     Overhead (10%)       Profit (10%)   Cleaning Total Tax   Clothing Acc Tax   Manuf. Home Tax
                                                                                      (6%)               (6%)              (6%)

     Line Items                            12,114.57         12,114.57             8,722.76               0.00              0.00

     Total                                 12,114.57         12,114.57             8,722.76               0.00              0.00




    2019-05-24-1719                                                                                      6/5/2019           Page: 2


                                                                                                                 Case ID: 200103150
3



                      Home & Business Public Adjusters
                      434 East Baltimore Pike
                      Media Pa 19063


                                                  Recap by Room

    Estimate: 2019-05-24-1719

    Area: basement
           Basement                                                 4,835.56          3.55%
           interior stairs                                          1,351.45          0.99%
           exterior stairs                                            332.75          0.24%

            Area Subtotal: basement                                 6,519.76          4.79%

    Area: Main Level
           Living Room                                             15,227.02         11.18%
           Dining Room                                              6,907.00          5.07%
           Stairs to 2nd Floor                                      2,852.16          2.09%
           Office                                                  10,275.74          7.54%
           Mudroom                                                  7,200.26          5.29%
           Bathroom                                                 6,035.55          4.43%
           Kitchen                                                 12,806.44          9.40%

            Area Subtotal: Main Level                              61,304.17         45.01%

    Area: 2nd Floor
           Hallway/Landing                                          6,834.90          5.02%
           Bedroom 3 - rear right                                  11,649.40          8.55%
           Bedroom 2 - front left                                  10,379.20          7.62%
           bedroom 4 - rear left                                   10,878.58          7.99%
           Bathroom                                                13,511.48          9.92%

            Area Subtotal: 2nd Floor                               53,253.56         39.10%
            Miscellaneous - Remediation                            15,060.96         11.06%
            Labor Minimums Applied                                     66.78          0.05%

    Subtotal of Areas                                             136,205.23        100.00%


    Total                                                         136,205.23        100.00%




    2019-05-24-1719                                                  6/5/2019           Page: 3


                                                                               Case ID: 200103150
4



                      Home & Business Public Adjusters
                      434 East Baltimore Pike
                      Media Pa 19063


                                                 Recap by Category

     O&P Items                                                          Total           %
     ACOUSTICAL TREATMENTS                                             1,766.11      1.04%
     CABINETRY                                                         8,860.22      5.24%
     CLEANING                                                          1,805.80      1.07%
     CONTENT MANIPULATION                                                512.25      0.30%
     GENERAL DEMOLITION                                                2,401.40      1.42%
     DOORS                                                             6,206.99      3.67%
     DRYWALL                                                           1,090.94      0.64%
     ELECTRICAL                                                          858.08      0.51%
     FLOOR COVERING - CARPET                                           4,577.21      2.71%
     FLOOR COVERING - CERAMIC TILE                                       663.64      0.39%
     FLOOR COVERING - VINYL                                            1,248.03      0.74%
     FLOOR COVERING - WOOD                                             3,118.49      1.84%
     FINISH CARPENTRY / TRIMWORK                                       5,496.92      3.25%
     FINISH HARDWARE                                                   1,473.56      0.87%
     FRAMING & ROUGH CARPENTRY                                           249.78      0.15%
     HEAT, VENT & AIR CONDITIONING                                     3,704.00      2.19%
     INSULATION                                                        3,014.04      1.78%
     LABOR ONLY                                                          924.00      0.55%
     LIGHT FIXTURES                                                    1,713.13      1.01%
     INTERIOR LATH & PLASTER                                          43,450.61     25.69%
     PLUMBING                                                          3,741.31      2.21%
     PANELING & WOOD WALL FINISHES                                     2,087.60      1.23%
     PAINTING                                                          9,053.60      5.35%
     TILE                                                              3,942.84      2.33%
     WINDOW TREATMENT                                                  3,060.20      1.81%
     WALLPAPER                                                         6,123.52      3.62%
     O&P Items Subtotal                                              121,144.27     71.62%

     Non-O&P Items                                                      Total           %
                                                                      15,060.96      8.90%
     Non-O&P Items Subtotal                                           15,060.96      8.90%
     O&P Items Subtotal                                              121,144.27     71.62%
     Overhead                                                         12,114.57      7.16%
     Profit                                                           12,114.57      7.16%
     Cleaning Total Tax                                                8,722.76      5.16%

     Total                                                           169,157.13    100.00%




    2019-05-24-1719                                                    6/5/2019       Page: 4


                                                                             Case ID: 200103150
5




                                                                                                                                                                        Case ID: 200103150
    Basement
                                                                             24' 3"
                       3' 7"




                                                                             21' 11"
                                2' 5"




                                                                                                                                              7' 11"
                                                                                                                                     6' 9"
                                                  11' 1"
                                                                                5' 7"

                                                                                                                                  2' 5"
                                                                                              3'               5' 2"




                                                                                                                     Up
                                                                                                                          3' 6"
                                                                                                          interior stairs
                                19' 5"
                       20' 7"




                                                 Basement




                                                                                                                                     15' 1"

                                                                                                                                              15' 8"
                                            7' 8"                       3' 9"                                10' 6"




                                                                                     3' 2"
                                         7' 8"                                                                  9' 4"




                                                                                                     2'
                                                                8' 4"




                                                                                                                                     6' 7"
                                                     7' 2"




                                                                                                                                              8' 4"
                                                                                             Utility Room (4)
                                                                                                            11' 3"
                                                                        3'
                                                                                                                11' 3"




                                                                             4' 7"
                                                                Up
                                                             exterior stairs




                                                                4'
                                                     5' 2"




                                                                                             4' 7"
                                                                   5' 4"
                                                                                                                                                                  Basement
     2019-05-24-1719                                                                                                                                   6/5/2019       Page: 5
6




                                                                                                                                                                               Case ID: 200103150
    Main Level
                                                             24' 5"
                                                             23' 9"
                                                                                                                                   5' 6"
                                               Living Room
                       11' 8"
                                11'




                                                                                                                           3' 4"




                                                                                                                                   2' 2"
                                                                                                                       2' 4"
                                                                                                            2'
                                                                                                                       Up
                                                                                            8'
                                                                                             8'




                                                                                                      Up
                                                              3' 6"




                                                                                                                                   3' 6"
                                                                                                               3' 4"
                                                                           Stairs to 2nd Floor Stairs2 (1)




                                                                                                                                              22' 11"
                                      9' 11"               2' 2"                           7' 10"                         3' 6"
                                                                                                                               Up




                                                                                                                                   1' 10"
                                       9' 9"                 2'                            7' 8"

                                                                          3' 4"
                                                   3' 4"
                                                    Closet (1)

                                                              3'
                                                           2' 4"
                       11' 8"
                                11'




                                      Office




                                                                                                                                   9' 4"
                                                                          7' 10"
                                                                                           Dining Room




                                                              7' 8"
                                      9' 2"         7"                                             11' 4"                                   7"
                                      9' 6"        5"                                        14' 5"




                                                                                                                                                   7' 11"
                                                                                                                                      7' 5"
                                                  7' 9"
                                                                                           Kitchen
                                                            3' 3"                          6' 6"                          4' 8"
                                                            3' 5"                          6' 2"                           4' 6"




                                                                      5' 10"




                                                                                                       5' 8"
                                                                                    2' Bathroom
                                                                                       11"




                                                                                                                  6'
                                                                                   2' 5"




                                                                                                                                      9' 2"
                                                                                                                                                   9' 8"
                                                                                                                   Mudroom
                                                                                            6' 6"




                                                                                   3' 2"
                                                                      3' 8"
                                                                                                      11'
                                                                                                     11' 8"
                                                                                                                                                                       Main Level
     2019-05-24-1719                                                                                                                                        6/5/2019         Page: 6
7




                                                                                                                                                                                                                 Case ID: 200103150
    2nd Floor
                                 2' 2"                       5' 8"                                    8' 2"                                5' 4"                      3' 1"
                                 1' 8"                       5' 4"                                    7' 10"                                5'




                                                                                                                                                                                        3' 3"
                                                                                                                                                                              2' 9"
                                                                                                                                                        3' 1"
                                                                                                                                                                Bathroom (1)
                                          7' 2"
                                                  7' 6"




                                                                                                                                7' 11"
                             Closet1 (2)                                                                                                                            2' 11"
                                                                         8' 1"




                                                                                              Hallway/Landing
                                                                                                                                         Bathroom
                        11' 9"




                                                  Bedroom 2 - front left




                                                                                                                                                                              8' 2"
                                                                                                                                                                                        8' 8"
                                                                                 6"          3' 8"                 3' 8"      4"          4' 2"
                                     2'
                                                                                 4"           3' 6"                3' 10"     4"          3' 8"
                                 3' 9"




                                                                                                                                                            3' 4"
                                                                         3' 2"




                                                                                                       3' 2"
                                                                        Closet2 (1)                                                Linen Closet (2)




                                                                                                                                                   3'
                                                                                  Landing (1)
                                                          7' 4"                                                       4'                                        2' 7" 10"
                                                          7' 6"                  7"                       2"                 7' 11"                             2' 7"           1'




                                                                                             4' 2
                                 3' 11"




                                                                                                    4'
                        4' 3"




                                                                                                                                                                                4' 2"
                                                                                                               "
                                                                                      4' 5

                                                                                               "




                                                                                                                                                                      4'
                                                                                                         4' 1
                                                                                        "
                                                                                                                                                                 1' 11"
                                 1' 9"                                                                                                                              1' 7"
                                                                                                                   Bedroom 3 - rear right
                                                             bedroom 4 - rear left




                                                                                                      7' 8"
                                                  7' 6"




                                                                                                                                                        7' 5"
                                          7' 2"




                                                                                                                                                                      7' 1"
                        7' 8"




                                                                                                                                                                                7' 7"
                         Bedroom 1 (1)                                                                                                                          Closet (1)
                                                                     8' 3"                                                  10' 2"
                                 2' 3"                                                               19' 1"                                                         2' 1"
                                                                                                                                                                                                           2nd Floor
      2019-05-24-1719                                                                                                                                                                           6/5/2019       Page: 7
